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                  UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF CONNECTICUT


AURACLE HOMES, LLC; FD MANAGEMENT,
LLC; BUCKLEY FARMS, LLC; ORANGE
CAPITOL LLC; 216 EAST MAIN STREET
MERIDEN, LLC; BD PROPERTY HOLDINGS,                     3:20-cv-00829-VAB
LLC; PRIME MANAGEMENT, LLC; AND,
HABERFELD ENTERPRISES, LLC,

        Plaintiffs,                                     AMENDED COMPLAINT

v.

NED LAMONT                                              JUNE 30, 2020

        Defendant.



        Pursuant to Fed. R. Civ. P. 15(a)(1)(A), Plaintiffs AURACLE HOMES, LLC;

 FD MANAGEMENT, LLC; BUCKLEY FARMS, LLC; HABERFELD

 ENTERPRISES, LLC; ORANGE CAPITOL, LLC; 216 EAST MAIN STREET

 MERIDEN, LLC; BD PROPERTY HOLDINGS, LLC; PRIME MANAGEMENT,

 LLC; and, HABERFELD ENTERPRISES, LLC (together, “Plaintiffs”), by and

 through the undersigned counsel of record, hereby file their First Amended Complaint

 for injunctive and declaratory relief against the named Defendant, for the limited

 purpose of adding to their allegations portions of the Defendant’s June 29, 2020,

 Executive Order 7DDD, and allege as follows:

                                 I. INTRODUCTION

 1.     Plaintiffs own and manage real property in the State of Connecticut, available to

        rent.
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2.    On March 19, 2020, the Plaintiffs, either directly or through a property

      management company, had lease agreements with tenants under which they

      were able, pursuant to state statute, to exercise certain rights and derive certain

      benefits.

3.    On March 19, 2020, the Defendant, Connecticut Governor Ned Lamont, issued

      Executive Order 7G which, among other things, foreclosed the Plaintiffs from

      being able to access and seek remedy from Connecticut courts.

4.    On April 10, 2020, the Defendant issued Executive Order 7X which illegally

      restricted the rights of the Plaintiffs as landlords, and property owners.

5.    By their Complaint, the Plaintiffs allege that the conduct of the Defendant,

      undertaken under color of law, illegally deprived them of their constitutional

      right to private contract, right to due process of law, right to equal protection

      under the law, and right against having their property taken for public use

      without just compensation.

6.    Further, the terms of Executive Order 7X are outside the scope of the

      Governor’s authority, and are therefore ultra vires.

7.    The Plaintiffs bring this action seeking a declaratory judgment that the

      Defendant’s actions are unconstitutional, and seeking injunctive relief requiring

      the Defendant to rescind his unconstitutional orders and any attempts at

      enforcement thereof. Further, the Plaintiffs seek damages.




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                          II. JURISDICTION & VENUE

8.     This Court has jurisdiction over all claims for relief pursuant to 28 U.S.C. §§

       1331, 1343, 2201, and 2202, and 42 U.S.C. §§ 1983 and 1988, as this action

       seeks to redress the deprivation under color of the law, of the rights secured by

       the United States Constitution. To the extent Plaintiffs’ claims may allege or

       may be construed to allege state law claims, this Court has supplemental

       jurisdiction under 28 U.S.C. § 1367(a).

9.     Venue lies in this Court under 28 U.S.C. § 1391, as the events giving rise to

       Plaintiffs’ causes of action arose or exist in this District in which the action is

       brought.

                                     III. PARTIES

10.    Plaintiff AURACLE HOMES LLC, is an owner of residential real property

       located in Waterbury, Connecticut that, through FD PROPERTY

       MANAGEMENT, LLC has a written lease agreement with a tenant.

11.    Plaintiff BUCKLEY FARMS, LLC is an owner of residential real property

       located in Meriden, Connecticut that, through HABERFELD ENTERPRISES,

       LLC, has a written lease agreement with tenants.

12.    Plaintiff ORANGE CAPITOL, LLC is an owner of residential real property

       located in Hartford, Connecticut that has written lease agreements with tenants.

13.    Plaintiff 216 EAST MAIN STREET MERIDEN, LLC is an owner of

       residential real property located in Meriden, Connecticut that has written lease

       agreements with tenants.

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14.    Plaintiff BD PROPERTY HOLDINGS, LLC through PRIME

       MANAGEMENT, LLC is an owner of residential real property located in New

       Haven, Connecticut that has written lease agreements with tenants.

15.    Plaintiff HABERFELD ENTERPRISES, LLC is an owner of residential real

       property located in Bristol, Connecticut that has a written lease agreement with

       a tenant.

16.    The Defendant is the elected Governor of the State of Connecticut. In such

       capacity, Defendant Lamont is the State’s supreme executive officer.

       Connecticut Constitution, Art. 4, § 5. As Governor, he is charged with the duty

       to “take care that the laws be faithfully executed” and he is “the conservator of

       the peace throughout the state.” Id. Art. 4, § 12. The Defendant is sued in his

       official capacity and, for his ultra vires acts as described herein, is also sued in his

       individual capacity.

                    IV. FACTS APPLICABLE TO ALL COUNTS

17.    In Connecticut, owners of residential real property (hereafter “dwelling unit”)

       who want to let the same (hereafter “landlords”) to those wanting to occupy it

       (hereafter “tenants”) are permitted to do so, with or without a written contract

       (hereafter “lease”) for a particular term (hereafter “tenancy”).

18.    In Connecticut, the primary rights and responsibilities of landlords and tenants

       are set forth in Connecticut General Statutes (hereafter “C.G.S.”) § 47a-1

       through § 47a-20f.

19.    In Connecticut, a lease can provide for the payment of money (hereafter “rent”)

       by the tenant to the landlord.

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20.    In Connecticut a landlord and a tenant can agree on a rent for a tenancy in the

       absence of a lease.

21.    If the tenant fails to pay the rent, the landlord may terminate the tenancy, and

       regain possession of the property.

22.    The process the landlord must follow to regain possession includes the service

       of a Notice to Quit Possession (“Notice to Quit”) upon the tenant (C.G.S. §

       47a-15a) followed by a summary process eviction action using the procedure

       described in C.G.S. § 47a-23, et. seq. to regain possession of the property.

23.    If a landlord fails to follow the statutory eviction process and dispossesses the

       tenant of the landlord’s property without permission of the tenant or the courts,

       the landlord would be subject to significant penalty. C.G.S. § 47a-43.

24.    On March 10, 2020, in response to the outbreak of the Coronavirus (aka

       COVID-19), the Defendant declared Public Health and Civil Preparedness

       Emergencies. (EXHIBIT A)

25.    On March 19, 2020, Defendant Lamont issued Executive Order 7G which,

       among other things contained a “Suspension of Non-Critical Court Operation

       and Associated Requirements” expressly ordering:

       Notwithstanding any provision of the Connecticut General Statutes or of
       any regulation, local rule or other provision of law, I hereby suspend, for
       the duration of this public health and civil preparedness emergency, unless
       earlier modified or terminated by me, all statutory (1) location or venue
       requirements; (2) time requirements, statutes of limitation or other
       limitations or deadlines relating to service of process, court proceedings
       or court filings; and (3) all time requirements or deadlines related to the
       Supreme, Appellate and Superior courts or their judicial officials to issue
       notices, hold court, hear matters and/or render decisions including, but
       not limited to, the following:


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     a. All time limitations in Chapters 959, 959a, 960 and 961 of the
          General
        Statutes including, but not limited to, C.G.S. § 54-lg concerning
          the time
        of arraignments;

     b. and C.G.S. § 54-82m concerning the right to a speedy trial;

     c. All time limitations for rendering judgments in civil actions
         provided in
       C.G.S. § 51-183b;

     d. All time limitations concerning civil process, service and return
        provided in Chapter 896 of the General Statutes;

     e. All statutes of limitations provided in Chapter 926 of the General
        Statutes;

     f. All time limitations concerning the automatic review of terms of
        probation provided in C.G.S. § 53a-29(g);

     g. All time constraints for the filing of administrative appeals
          provided in
        C.G.S. § 4-183;

     h. All time limitations concerning hearings and rulings pertaining to
        primary and election disputes provided in Chapter 149 of the
          General
        Statutes;

     i. All time limitations in Title 46b of the General Statutes including,
          but not limited to, family, juvenile and child support matters;

     j. All venue and filing requirements including, but not limited to,
          C.G.S. §§ 51-345, 51-348, 51-352 and 51-353, provided in
          Chapter 890 of the General Statutes;

     k. The times and places for the sitting of the Superior Court provided
         in C.G.S. § 51-181;

     l. The notice of sessions provided in C.G.S. § 51-182.” (EXHIBIT

         B)



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26.    On April 10, 2020, the Defendant issued Executive Order 7X which, among

       other things contained “Protections for Residential Renters Impacted by

       COVID -19,” expressly ordering:

       “Effective immediately and for the duration of the public health and
       civil preparedness emergency declared on March 10, 2020 including any
       period of extension or renewal:

             a. No Notice to Quit or Service of Summary Process Before July
                1. Section 47a-23 of the Connecticut General Statutes is
                modified to additionally provide, “(f) No landlord of a dwelling
                unit, and no such landlord’s legal representative, attorney-at-
                law, or attorney-in-fact, shall, before July 1, 2020, deliver or
                cause to be delivered a notice to quit or serve or return a
                summary process action, for any reason set forth in this chapter
                or in sections 21-80 et seq. of the Connecticut General
                Statutes, except for serious nuisance as defined in section 47a-
                15 of the Connecticut General Statutes.

             b. Automatic 60-Day Grace Period for April Rent. Section 47a-
                15a of the Connecticut General Statutes is modified to
                additionally provide, “Notwithstanding the provisions of this
                section, if rent due in April 2020 is unpaid when due and paid
                within sixty days thereafter, the tenant of a dwelling unit shall
                not be in default or violation of the rental agreement and the
                landlord of such unit may not deliver or cause to be delivered
                a notice to quit or serve or file a summary process action for
                nonpayment of rent; impose late fees, interest, or penalties;
                report such rent as late to any credit bureau or tenant screening
                service; or otherwise retaliate against the tenant. As used in this
                section, ‘tenant’ includes a resident of a mobile manufactured
                home park, as defined in section 21-64, including a resident
                who owns his own home, and ‘landlord’ includes a ‘licensee’
                and an ‘owner’ of a mobile manufactured home park, as
                defined in section 21-64.”

            c. 60-Day Grace Period for May Rent, Upon Request. Section
               47a- 15a of the Connecticut General Statutes is further
               modified to additionally provide, “Notwithstanding the
               provisions of this section, if rent due in May 2020 is unpaid
               when due and paid w ithin sixty days thereafter by a tenant

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         who, on or before the 9th day after such rent is due, notifies
         the landlord or landlord’s representative in writing,
         including but not limited to in written electronic
         communication, that the tenant needs to delay all or some
         payment of rent because he or she has become fully or partially
         unemployed or otherwise sustained a significant loss in
         revenue or increase in expenses as a result of the COVID-
         19 pandemic, the tenant of a dwelling unit shall not be in
         default or violation of the rental agreement and the landlord of
         such unit may not deliver or cause to be delivered a notice to
         quit or serve or file a summary process action for
         nonpayment of such rent; impose late fees, interest, or
         penalties; report such rent as late to any credit bureau or
         tenant screening service; or otherwise retaliate against the
         tenant.”

     d . Application of Additional Security Deposit to Rent, Upon
         Request. Section 47a-21 is modified to additionally provide,
         “(m) Upon the written request of a tenant of a dwelling unit
         who is not enrolled in the security deposit guarantee program
         established by the Commissioner of Housing pursuant to
         Section 8-339 of the Connecticut General Statutes, who has
         paid a security deposit in an amount that exceeds one month’s
         rent, and who provides written notice, including but not
         limited to in written electronic communication, that he or she
         has become fully or partially unemployed or otherwise
         sustained a significant loss in revenue or increase in expenses
         as a result of the COVID-19 pandemic, a landlord of such unit
         shall withdraw an amount of said deposit equal to the amount
         in excess of one month’s rent from an escrow account and apply
         it toward the rent due in April, May, or June 2020.
         Notwithstanding subsection (h) of this section, an escrow agent
         may withdraw funds from an escrow account to comply
         with such a request. The amount withdrawn by the escrow
         agent and applied toward the rent due shall no longer be
         considered an amount of the security deposit for any purpose,
         including but not limited to the calculation of interest,
         assignment to successor, and the payment of security deposit
         and interest at the termination of a tenancy. Notwithstanding
         subsection (b) of this section, no landlord who has complied
         with such a request may demand the security deposit be
         restored to an amount that exceeds one month’s rent earlier
         than the later of the end of the public health and civil

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                preparedness emergency declared on March 10, 2020,
                including any period of extension or renewal of such
                emergency, or the date the rental agreement is extended or
                renewed.

       Except as expressly provided herein, nothing in this order shall relieve a
       tenant of liability for unpaid rent or of the obligation to comply with
       other terms of a rental agreement or statutory obligations pursuant to
       Connecticut law. Except as expressly provided herein, nothing in this
       order shall relieve a landlord of the obligation to comply with a rental
       agreement or statutory obligations pursuant to Connecticut law.”
       (EXHIBIT C)

27.    On June 29, 2020, the Defendant issued Executive Order 7DDD which

       contained “Extended Protections for Residential Renters Affected by COVID-

       19”, expressly ordering:

       In addition to the provisions in Executive Order No. 7X, Section 1, the
       following provisions shall take effect immediately:
          a. No Notice to Quit or Service of Summary Process Before August 22.
              Section 47a-23 of the Connecticut General Statutes is modified to
             additionally provide, “(g) No landlord of a dwelling unit, and no such
             landlord’s legal representative, attorney-at-law, or attorney-in-fact,
             shall, before August 22, 2020, deliver or cause to be delivered a notice
             to quit or serve or return a summary process action, for any reason set
             forth in this chapter or in sections 21-80 et seq. of the Connecticut
             General Statutes, except for nonpayment of rent due on or prior to
             February 29, 2020 or for serious nuisance as defined in section 47a-15 of
             the Connecticut General Statutes.” All notices to quit for nonpayment of
             rent issued before August 22 shall specify and recite the period of
             nonpayment of rent prior to February 29, 2020 for which rent has not
             been paid.

         a. Extended Opportunity to Apply Additional Security Deposit to Rent,
            Upon Request. Executive Order No. 7X, Section 1.d. is superseded by
            the following: Section 47a-21 is modified to additionally provide, “(m)
            Upon the written request of a tenant of a dwelling unit who is not
            enrolled in the security deposit guarantee program established by the
            Commissioner of Housing pursuant to Section 8-339 of the Connecticut
            General Statutes, who has paid a security deposit in an amount that
            exceeds one month’s rent, and who provides written notice, including
            but not limited to in written electronic communication, that he or she has

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               become fully or partially unemployed or otherwise sustained a significant
               loss in revenue or increase in expenses as a result of the COVID-19
               pandemic, a landlord of such unit shall withdraw an amount of said
               deposit equal to the amount in excess of one month’s rent from an
               escrow account and apply it toward the rent due in April, May, or June,
               July or August 2020. Notwithstanding subsection (h) of this section, an
               escrow agent may withdraw funds from an escrow account to comply
               with such a request. The amount withdrawn by the escrow agent and
               applied toward the rent due shall no longer be considered an amount of
               the security deposit for any purpose, including but not limited to the
               calculation of interest, assignment to successor, and the payment of
               security deposit and interest at the termination of a tenancy.
               Notwithstanding subsection (b) of this section, no landlord who has
               complied with such a request may demand the security deposit be restored
               to an amount that exceeds one month’s rent earlier than the later of the
               end of the public health and civil preparedness emergency declared on
               March 10, 2020, including any period of extension or renewal of such
               emergency, or the date the rental agreement is extended or renewed.

      Except as expressly provided herein, nothing in this order shall relieve a tenant of
      liability for unpaid rent or of the obligation to comply with other terms of a rental
      agreement or statutory obligations pursuant to Connecticut law. Except as
      expressly provided herein, nothing in this order shall relieve a landlord of the
      obligation to comply with a rental agreement or statutory obligations pursuant
      to Connecticut law. (EXHIBIT D - Double lettering of “a.” in original)


28.   Plaintiffs 216 EAST MAIN STREET MERIDEN, LLC and HABERFELD

      ENTERPRISES, LLC are landlords of residential properties that have not received

      rent for the months of at least March, April and May of 2020, have not served a

      Notice to Quit on the tenant(s), and are prohibited from doing so by virtue of

      Executive Order 7X and/or Executive Order 7DDD. But for Executive Order 7X

      and/or Executive Order 7DDD, 216 EAST MAIN STREET MERIDEN, LLC and




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      HABERFELD ENTERPRISES, LLC would immediately serve the non-paying

      tenants with a Notice to Quit.

29.   Plaintiffs BD PROPERTY HOLDINGS, LLC through PRIME MANAGEMENT,

      LLC and 216 EAST MAIN STREET MERIDEN LLC are landlords for residential

      properties for which they did not receive rent for months prior to the issuance of

      Executive Order 7X. These Plaintiffs served their tenant(s) with a Notice to Quit for

      failing to pay rent, and the tenant(s) are still in possession of the dwelling units. BD

      PROPERTY HOLDINGS, LLC through PRIME MANAGEMENT, LLC and 216

      EAST MAIN STREET MERIDEN, LLC, by virtue of Executive Order 7X, are

      prohibited from initiating summary process eviction action(s) against their tenants.

      But for Executive Order 7X, BD PROPERTY HOLDINGS, LLC, through PRIME

      MANAGEMENT, LLC and 216 EAST MAIN STREET MERIDEN, LLC would

      have immediately had the tenants served with a summary process eviction action(s).

30.   As a result of Executive Order 7DDD, the previously issued Notice(s) to Quit served

      on behalf of BD PROPERTY HOLDINGS, LLC through PRIME

      MANAGEMENT, LLC and 216 EAST MAIN STREET MERIDEN LLC are

      rendered useless by virtue of Executive Order 7DDD’s new criteria, now requiring

      such notices to “specify and recite the period of nonpayment of rent prior to

      February 29, 2020 for which rent has not been paid”

31.   Plaintiff 216 EAST MAIN STREET MERIDEN, LLC, is a landlord of residential

      property for which it did not receive rent for months prior to the issuance of


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      Executive Order 7G. It had previously served a Notice to Quit on its tenants, the

      tenants refused to vacate, and the Plaintiff served the tenants with summary process

      eviction actions. But for Executive Order 7G, 216 EAST MAIN STREET

      MERIDEN, LLC would be able to proceed with its summary process eviction

      actions and attempt to regain possession of its property.

32.   Plaintiffs BD PROPERTY HOLDINGS, LLC through PRIME MANAGEMENT,

      LLC; 216 EAST MAIN STREET MERIDEN, LLC; HABERFELD

      ENTERPRISES, LLC; and, BUCKLEY FARMS, LLC through HABERFELD

      ENTERPRISES LLC are landlords of residential properties for which they did not

      receive rent for the month of April 2020. They each have lease agreements with the

      tenants of their respective properties requiring the payment of rent and providing for

      penalties if a tenant fails to pay rent on time. The tenants of these Plaintiffs have told

      these Plaintiffs that, because of the Defendant’s Order (presumably Executive Order

      7X) the tenants are not required to pay their April rent on time, and accordingly the

      tenants have failed to do so.

33.   BD PROPERTY HOLDINGS, LLC through PRIME MANAGEMENT, LLC, 216

      EAST MAIN STREET MERIDEN, LLC; HABERFELD ENTERPRISES, LLC;

      and BUCKLEY FARMS, LLC, are precluded, by Executive Order 7X and/or

      Executive Order 7DDD from employing the remedies available to them under their

      respective leases.




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34.   Plaintiffs, BD PROPERTY HOLDINGS, LLC through PRIME MANAGEMENT,

      LLC, 216 EAST MAIN STREET MERIDEN LLC, HABERFELD ENTERPRISES,

      LLC and BUCKLEY FARMS, LLC through HABERFELD ENTERPRISES, LLC

      are landlords of residential properties for which they did not receive rent on time for

      the month of May 2020. They each have written lease agreements with the tenants of

      their respective properties requiring the payment of rent and providing for penalties

      for a tenant failing to pay rent on time. Tenants of these Plaintiffs have told these

      Plaintiffs that, because of the Defendant’s Order (presumably Executive Order 7X)

      the tenants are not required to pay their May rent on time, and accordingly the

      tenants have failed to do so.

35.   BD PROPERTY HOLDINGS, LLC through PRIME MANAGEMENT, LLC; 216

      EAST MAIN STREET MERIDEN LLC; HABERFELD ENTERPRISES, LLC; and

      BUCKLEY FARMS, LLC are precluded, by Executive Order 7X and/or Executive

      Order 7DDD from employing the remedies available to them under their respective

      leases.

36.   Plaintiffs AURACLE HOMES LLC through FD PROPERTY MANAGEMENT

      LLC and ORANGE CAPITOL LLC, are landlords of residential properties.

      Pursuant to their respective leases, they received and held as a security deposit, an

      amount equivalent to two months of rent. The tenants of these Plaintiffs are not

      enrolled in a security deposit guarantee program pursuant to CGS 8-339. The tenants

      of these Plaintiffs have asked these Plaintiffs in writing to apply part of the security


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      deposit held by these Plaintiffs to the May and/or June 2020 rent. By virtue of

      Executive Order 7X, AURACLE HOMES, LLC through FD PROPERTY

      MANAGEMENT, LLC, and ORANGE CAPITOL, LLC were forced to relinquish a

      portion of their legally retained security deposit.

37.   Upon information and belief, while the Defendant has used the cover of emergency

      to close off all avenues for the Plaintiffs to proceed with the statutory process of

      regaining possession of their residential rental property, he has not treated similarly

      situated landlords of commercial rental property in the same fashion.

38.   The Legislature has provided no findings or declarations to support any legitimate

      government interest for permitting the commercial eviction process while totally

      halting the residential eviction process.

39.   The actions and orders of the Defendant, who is and has been at all relevant times

      acting under color of state law, are therefore denying the Plaintiffs their right to own

      and possess residential real property as they see fit, and as legally authorized by U.S.

      Constitution and Connecticut statute.

40.   The Defendant has abused the position of his office by using the COVID-19

      pandemic to illegally expand his power by unprecedented lengths, without any

      proper Constitutional, statutory, or common law basis therefor. Plaintiffs thus bring

      this lawsuit to assert challenges to the ultra vires actions undertaken by the Defendant

      under color of law.




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             COUNT 1 – DEPRIVATION OF CIVIL RIGHTS
        VIOLATIONS OF THE EQUAL PROTECTION OF THE LAWS
                          42 U.S.C. § 1983

41.   Plaintiffs incorporate herein by reference the foregoing paragraphs as if fully set forth

      herein.

42.   Article IV, Section 2 of the United States Constitution states in relevant part “. . . nor

      shall any State . . . deny to any person within its jurisdiction the equal protection of

      the laws.”

43.   The Fourteenth Amendment to the United States Constitution provides in relevant

      part: “No state shall make or enforce any law which shall . . . deny to any person

      within its jurisdiction the equal protection of the laws.”

44.   Connecticut law allows those who follow the legal process established by state statute

      to own and let real property, with the legal ability to repossess such property from the

      tenant upon the tenant’s failure to abide by the statutory and/or lease terms of the

      tenant’s tenancy, including the timely payment of rent.

45.   The Defendant has, under color of law but without legal authority, infringed on and

      interfered with the Plaintiffs’ rights under the United States Constitution, Connecticut

      statutes, and the common law, while leaving the rights of landlords of commercial

      properties undisturbed.

46.   The Plaintiffs have been damaged and continue to be damaged by the Defendant’s

      conduct.




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47.   The Plaintiffs have no adequate remedy at law as no damages could compensate the

      Plaintiffs for the deprivation of their constitutional rights.

48.   Without an order for temporary injunctive relief pending a hearing on the Plaintiffs’

      claims for permanent injunctive relief, the Plaintiffs will suffer ongoing irreparable

      harm.

              COUNT 2 – DEPRIVATION OF CIVIL RIGHTS
           VIOLATIONS OF THE RIGHT TO PRIVATE CONTRACT
                           42 U.S.C. § 1983

49.   Plaintiffs incorporate herein by reference the foregoing paragraphs as if fully set forth

      herein.

50.   By his conduct, the Defendant has engaged in behavior which violates Article 1,

      Section 10 of the United States Constitution, known as the Contracts Clause.

51.   Executive Order 7X and Executive Order 7DDD purportedly have the effect of

      law, though unilateral and issued only by Defendant.

52.   The portions of Executive Order 7X and Executive Order 7DDD challenged here

      illegally interfere with the Plaintiffs rights and abilities to fulfill their obligations

      under, and reap the benefits of, leases and agreements entered into prior to the

      Executive Order.

53.   The portions of Executive Order 7X and Executive Order 7DDD challenged here,

      do not serve a legitimate public purpose sufficient to justify the infringement of the

      Plaintiffs’ constitutional rights.




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54.   Even if the Defendant could put forth a legitimate public purpose for negating and

      amending the rights, terms, obligations, benefits and expectations under private

      contracts, the extreme measures the Defendant employed are unreasonable,

      unnecessary and not legally justifiable.

55.   The Plaintiffs have been damaged and continue to be damaged by the Defendant’s

      conduct.

56.   The Plaintiffs have no adequate remedy at law as no damages could compensate the

      Plaintiffs for the deprivation of their Constitutional rights.

57.   Without an order for temporary injunctive relief pending a hearing on the Plaintiffs’

      claims for permanent injunctive relief, the Plaintiffs will suffer ongoing irreparable

      harm.

                 COUNT 3 – DEPRIVATION OF CIVIL RIGHTS
                VIOLATIONS OF THE RIGHT TO DUE PROCESS
                              42 U.S.C. § 1983

58.   Plaintiffs incorporate herein by reference the foregoing paragraphs as if fully set forth

      herein.

59.   The Defendant’s Executive Order affords the Plaintiffs no legal or administrative

      process to contest its application to them, or to vindicate their rights injured thereby.

60.   The Defendant’s Executive Order has illegally caused the Plaintiffs to lose money,

      rights and property which were rightfully theirs.




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61.   The Defendant’s conduct deprives the Plaintiffs of liberty and property without due

      process of law in violation of the Fifth and Fourteenth Amendments to the United

      States Constitution.

62.   The Plaintiffs have no adequate remedy at law as no damages could compensate the

      Plaintiffs for the deprivation of their Constitutional rights.

63.   Without an order for temporary injunctive relief pending a hearing on the Plaintiffs’

      claims for permanent injunctive relief, the Plaintiffs will suffer ongoing irreparable

      harm.

                 COUNT 4 – DEPRIVATION OF CIVIL RIGHTS
                   VIOLATIONS OF THE TAKINGS CLAUSE
                              42 U.S.C. § 1983

64.   Plaintiffs incorporate herein by reference the foregoing paragraphs as if fully set forth

      herein.

65.   The Fourteenth Amendment provides that “[n]o State shall . . . deprive any person of

      life, liberty, or property, without due process of law.”

66.   The Fifth Amendment provides in relevant part “nor shall private property be taken

      for public use, without just compensation.”

67.   The Defendant’s challenged conduct caused, under color of law, the illegal seizure

      without just compensation of the Plaintiffs security interests in their real estate which

      the Plaintiffs possessed prior to the issuance of Executive Order 7X and Executive

      Order 7DDD.




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68.   These uncompensated seizures violate the Takings Clause of the Fifth Amendment,

      made applicable to the States through the Fourteenth Amendment, and Article I,

      Section 8 of the Connecticut Constitution.

69.   The Defendant’s Executive Orders 7X’s and 7DDD’s taking of Plaintiffs’ property is for a

      public purpose, as the taking is one the Defendant claimed is protecting Connecticut’s

      public health, safety, and welfare.

70.   The Defendant has placed the cost of his Orders benefitting the public on the

      shoulders of private landlords, including the Plaintiffs, and has failed to offer just

      compensation for these takings.

71.   The Defendant’s Executive Orders jeopardize the sustainability of the Plaintiffs’

      financial viability and in turn their rights to property ownership.

72.   The U.S. and Connecticut Takings Clauses require the government pay just

      compensation for any such taking.

73.   The Takings Clauses apply to temporary as well as permanent interference with

      private use of property.

74.   As a result of the Defendant’s Executive Orders, Plaintiffs, and those similarly

      situated, have at least temporarily lost all economically beneficial use of their real and

      personal property.

75.   The Plaintiffs have been damaged and continue to be damaged by the Defendant’s

      conduct.




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76.   The Plaintiffs have no adequate remedy at law as no damages could compensate the

      Plaintiffs for the deprivation of their Constitutional rights.

77.   Without an order for temporary injunctive relief, pending a hearing on the Plaintiffs’

      claims for permanent injunctive relief, the Plaintiffs will suffer ongoing irreparable

      harm.

                            COUNT 5 – ULTRA VIRES ACT

78.   Plaintiffs incorporate herein by reference the foregoing paragraphs as if fully set forth

      herein.

79.   “No State shall . . . pass any . . . Law impairing the Obligation of Contracts . . . .”

      Constitution of the United States, Art. I, s 10, cl. 1.

80.   The Connecticut Constitution guarantees the right to be able to access Connecticut’s

      courts: “All courts shall be open, and every person, for an injury done to him in his

      person, property or reputation, shall have remedy by due course of law, and right and

      justice administered without sale, denial or delay.” Connecticut Constitution, Art.

      First, § 10.

81.   The Defendant in his capacity as Governor for the State of Connecticut is not

      empowered by the U.S. Constitution, the Connecticut Constitution, Connecticut

      Statute, nor by the common law to violate the constitutional rights of the citizens of

      Connecticut.

82.   The Defendant issued the portions of Executive Order 7G challenged here without

      any legal authority granted to him by the citizens of Connecticut, the Connecticut


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      Legislature, or by virtue of his holding the title of Governor for the State of

      Connecticut.

83.   The Defendant issued the portions of Executive Order 7X challenged here without

      any legal authority granted to him by the citizens of Connecticut, the Connecticut

      Legislature, or by virtue of his holding the title of Governor for the State of

      Connecticut.

84.   The Defendant issued the portions of Executive Order 7DDD challenged here

      without any legal authority granted to him by the citizens of Connecticut, the

      Connecticut Legislature, or by virtue of his holding the title of Governor for the State

      of Connecticut.

85.   The Defendant did not, and does not have the legal authority to halt the legal process

      of evictions.

86.   The Defendant did not, and does not have the legal authority to interfere in private

      contracts between landlords and tenants.

87.   The Defendant’s conduct challenged here is outside of the scope of his job as

      Governor, and beyond the statutory limitations of his powers and authorities as

      Governor.

88.   The Defendant’s conduct and the resulting Executive Orders challenged here are ultra

      vires and therefore void.

89.   For the ultra virus conduct challenged here, the Defendant is sued in his individual

      capacity.


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90.   The Plaintiffs have been damaged and continue to be damaged by the Defendant’s

      conduct.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully demand the following relief:

1.    A trial by jury on all issues so triable pursuant to Fed.R.Civ.P. 38;

2.    Compensatory damages as will be proven at trial;

3.    Punitive damages under 42 U.S.C. § 1983;

4.    Attorney’s fees, expert fees, and costs pursuant to 42 U.S.C. § 1988;

5.    A declaratory judgment that the provisions of Executive Order 7X and 7DDD

      affecting the relationship between landlords and tenants violate the rights of Equal

      Protection guaranteed to the Plaintiffs;

6.    A declaratory judgment that the provisions of Executive Order 7X and 7DDD

      affecting the relationship between landlords and tenants violate the private right to

      contract guaranteed to the Plaintiffs;

7.    A declaratory judgment that the provisions of Executive Order 7G and 7X affecting

      the relationship between landlords and tenants violate the due process rights

      guaranteed to the Plaintiffs;

8.    A declaratory judgment that the provisions of Executive Order 7X and 7DDD

      affecting the relationship between landlords and tenants violate the rights against

      taking of property without just compensation guaranteed to the Plaintiffs;




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9.    A declaratory judgment decreeing that the provisions of Executive Order 7G, 7X,

      and 7DDD affecting the relationship between landlords and tenants was outside the

      scope and authority of the Governor of the State of Connecticut, and thus any such

      provisions are ultra vires, and void;

10.   A preliminary and permanent injunction prohibiting the Defendant and each of his

      employees, officers, agents, representatives, and those acting in concert or

      participation with him, from taking any action to enforce Executive Order 7X and

      7DDD or to sanction, charge, punish or penalize any Landlord for failing or refusing

      to follow or abide by such Executive Order.

11.   A preliminary and permanent injunction requiring the Defendant to issue Executive

      Orders which modify Executive Order 7G so as to provide the Plaintiffs and those

      like them a process under which to issue Notices to Quit, to initiate and pursue

      summary process eviction actions, and to proceed with execution of eviction

      judgments.

12.   A preliminary and permanent injunction requiring the Defendant to issue Executive

      Orders which repeal those portions of Executive Order 7G, 7X, and 7DDD that are

      outside the scope of the legal authority of the Defendant as Governor of

      Connecticut.

13.   Any and all other and further legal and equitable relief, including injunctive relief,

      against the Defendant as necessary to effectuate the Court’s judgment, or as the

      Court otherwise deems just and proper.


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Dated: JUNE 30, 2020        Respectfully submitted,

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